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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS


CHEMETCO SITE PRP GROUP,                               )
                                                       )
                Plaintiff,                             )
                                                       )
         v.                                            )    Civil Action No. 18-179-SMY-SCW
                                                       )
A SQUARE SYSTEMS, INC., et al.,                        )
                                                       )
                Defendants.                            )

                   NOTICE OF VOLUNTARY DISMISSAL OF
          DEFENDANT MUELLER BRASS COMPANY WITHOUT PREJUDICE

         Plaintiff Chemetco Site PRP Group, through counsel and pursuant to Federal Rule of

Civil Procedure 41(a)(1)(A)(i), voluntarily dismisses Defendant Mueller Brass Company from

this cause without prejudice. Mueller Brass Company has not filed an answer or motion for

summary judgment in this cause.

Dated:     February 19, 2018                 Respectfully submitted,

                                             THE JUSTIS LAW FIRM LLC


                                             /s/ Gary D. Justis
                                             Gary D. Justis                 admitted in S.D. Ill.
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                                             SITE PRP GROUP
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 19, 2018, a copy of the foregoing Notice of Voluntary

Dismissal of Defendant Mueller Brass Company was filed electronically. Notice of this filing

will be sent to all parties by operation of the Court’s electronic filing system. Parties may access

the filing through the Court’s Electronic Case Filing System.

                                              /s/ Gary D. Justis
                                              Gary D. Justis




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